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 1   DWIGHT M. SAMUEL (CA SB# 054486)
     A Professional Corporation
 2   117 J Street, Suite 202
     Sacramento, California 95814-2282
 3   916-447-1193
 4   Attorney for Defendant
     SUSAN D’ORTA
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 7
 8                             IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,           )
                                         )               NO. Cr.S-04-0026-WBS
12               Plaintiff,              )
                                         )               AMENDED
13   v.                                  )               PROPOSED STIPULATION AND
                                         )               ORDER
14   SUSAN D’ORTA,                       )
                                         )
15               Defendant.              )
                                         )
16   ____________________________________)
17
            Defendant, Susan D’Orta requested discovery from the United States Government on the
18
     OSC issues. Discovery is to be forth coming. As a result of the discovery issues Assistant U.S.
19
     Attorney, Matthew Segal has stipulated to extend the filing date for the OSC response to January
20
     30, 2009, originally due on January 23, 2009. The present hearing date is set for March 16, 2009.
21
     Respectfully submitted,
22
23
     DATED: January 22, 2009                      /S/Dwight M. Samuel
24                                                Dwight M. Samuel
                                                  Attorney for Defendant
25                                                Susan D’Orta
26
     DATED: January 22, 2009                      /S/Matthew Segal
27                                                Matthew Segal
                                                  Assistant United States Attorney
28                                                (Signed per Telephonic authorization)
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 1         IT IS SO ORDERED.
 2   DATED: January 23, 2009
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